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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                      CIVIL MINUTES − GENERAL


  Case No.       2:20−cv−06654−PSG−KS                             Date    11/9/2020

  Title          MIGUEL SOTO V. RICHARD RODRIGUEZ ET AL


  Present:        The Honorable           Philip S. Gutierrez, United States District Judge

                    Wendy Hernandez                                           Not Reported
                     Deputy Clerk                                        Court Reporter/Recorder

              Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                       Not Present                                            Not Present

 Proceedings (In Chambers):          ORDER TO SHOW CAUSE RE LACK OF PROSECUTION

      IT IS HEREBY ORDERED that counsel/party show cause in writing on or before November 16, 2020
 why this action should not be dismissed for lack of prosecution. The Court will consider the filing of the
 following as an appropriate response to this Order to Show Cause. Failure to respond in writing, may result in
 the dismissal of the entire action.

          Plaintiff to file Proof of Service of Summons and Complaint.
  X       Defendant to file a Response to Complaint (Amended Complaint) along with Notice of Interested
          Parties pursuant to Local Rule 7.1-1 OR Plaintiff to file a Request for Entry of Default.
          REMOVALS: Defendant to file copy of Response filed in state court with proper title page, as
          instructed on the Court’s Standing Order, along with a Notice of Interested Parties (if not already
          filed) pursuant to Local Rule 7.1-1 OR Plaintiff to file a Request for Entry of Default.
          Plaintiff to file a Request to Clerk for Entry of Default Judgment.
          Plaintiff to file a Motion for Entry of Default Judgment.

      Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7.15, oral argument will not
 be heard in this matter unless so ordered by the Court.

      Pursuant to Local Rule 5-4.5, one mandatory chambers copy of every electronically filed document must
 be delivered no later than 12:00 p.m. on the following business day. Further, the mandatory chambers copy
 shall comply with Local Rule 11-3.

                                                                                              Initials of Preparer: wm




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